    Case 1:22-cr-00015-APM         Document 99     Filed 04/18/22    Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

THE UNITED STATES OF AMERICA §
                             §
vs.                          §                    CAUSE NO.: 1:22-CR-15
                             §
ELMER STEWART RHODES, III    §


          AMENDED NOTICE TO JOIN MOTIONS OF CO-DEFENDANTS


    COME NOW PHILLIP LINDER and JAMES LEE BRIGHT, Counsel for Elmer

Stewart Rhodes, and inform the Court that they are adopting or joining in the motions

to dismiss the indictment and motion to transfer venue that were previously filed

before this Court.


    1. Motion to Dismiss Count 1, 2, 3, and 4 of the Indictment Thomas Edward
       Caldwell, 4/12/22, Doc. 84
    2. Motion to Change Venue
       Thomas Edward Caldwell, 4/15/22, Doc. 93
    3. Motion to Dismiss Count One and Strike Surplusage Edward Vallejo, 4/16/22,
       Doc. 94 and Doc. 95
    4. Motion to Dismiss Count 1 of the Indictment Kelly Meggs’s, 4/10/22, Doc. 82




                                                  RESPECTFULLY SUBMITTED,

                                                     /S/ PHILLIP A. LINDER
                                                  PHILLIP A. LINDER

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                                                     /S/ JAMES LEE BRIGHT
                                                  JAMES LEE BRIGHT

NOTICE TO JOIN MOTIONS-RHODES                                                        1
    Case 1:22-cr-00015-APM          Document 99       Filed 04/18/22     Page 2 of 2




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                                                     ATTORNEYS FOR DEFENDANT




                                CERTIFICATE OF SERVICE

         I hereby certify that on April 18, 2022, a copy of the foregoing Amended Notice

to Join Co-Defendants’ Motions was electronically filed with the Clerk of the U.S.

District Court for the District of Columbia via CM/ECF. The same is available for

viewing and downloading upon the following:


AUSA Jeffrey Nestler
AUSA Kathryn L. Rakoczy
Office of the United States Attorney
555 4th Street, NW
Washington D.C. 20001

                                                        /S/ PHILLIP A. LINDER
                                                     PHILLIP A. LINDER




NOTICE TO JOIN MOTIONS-RHODES                                                              2
